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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                      *
                                              *
                                              *
v.                                            *              Crim. No. PJM 11-567
                                              *
                                              *
BARNELL BANKS,                                *
                                              *
          Defendant                           *

                                   MEMORANDUM          OPINION

          Barnell Banks, pro se, has filed a Motion to Reduce Sentence (ECF No. 473) pursuant to

18 U.S.C.    S 3582(c)(2), relying on Amendment 782 to U.S. Sentencing Guideline, which the
Government opposes. For the reasons that follow, the Court will DENY the Motion.

                                                  I.

          On August IS, 2013, Banks entered into a Plea Agreement pursuant to Federal Rule of

Criminal Procedure I I(c)(I)(C),   pleading guilty to conspiracy to possess with the intent to

distribute 500 grams or more of a mixture or substance containing a detectable amount of

cocaine, in violation of 21 U.S.c.     S 846. Plea Agreement     ~ I, ECF No. 363. [n the Plea

Agreement, Banks and the Government "stipulate[d] and agree[d] pursuant to Federal Rule of

Criminal Procedure I 1(c)(l)(C) that a sentence of96 months is the appropriate disposition of this

case." Id. ~ 10. The Plea Agreement did not include the advisory guideline range for Banks. Id.

~'16-9. Banks' presentence investigative report states, "[t]here is a written Plea Agreement in this

case, pursuant to Federal Rule of Criminal Procedures Rulell(c)(l)(C)"      and "[t]he parties have

agreed that a sentence of 96 months is the appropriate disposition in this case." ECF No. 380, ~~

4, 101.
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         On October    17, 2013, Banks appeared           before Judge Alexander     Williams    Jr. for

sentencing. ECF No. 382. At the hearing, Judge Williams accepted Banks' Rule I I(c)(I)(C) Plea

Agreement stating, "I will now give you the 96 months that you bargained for . . . under the

(ll)(c) plea." Id. Accordingly, the Court sentenced Banks to 96 months imprisonment (i.e., as it

was bound to do after accepting the Rule II(c)(l)(C)           Plea Agreement).    Id.; Judgment and

Commitment Order 2, ECF No. 383. The Court also imposed a four year term of supervised

release and a $100 special assessment. Judgment and Commitment Order 3, 5. The Court further

clarified that Banks was sentenced to a term outside (below) the advisory guideline range as a

result of the binding Plea Agreement. See Statement of Reasons 2-3, ECF No. 384.

         On October 10, 2015, Banks tiled a pro se Motion to Reduce Sentence under 18 U.S.C. Ii

3582(c) pursuant to Amendment          782 of the Sentencing       Guidelines.    ECF No. 473. The

Government opposes the Motion, asserting that Banks is not eligible for a sentence reduction

because his Rule 11(c)( I)(C) plea was not based upon a specified drug quantity Guidelines

range. ECF No. 513.

                                                II.

         Under 18 U.S.c.     Ii 3582(c),    "a defendant    who has been sentenccd      to a tcrm of

imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

Commission" may tile a motion asking the Court to reduce his or her sentence. The Court may

reduce the defendant's     tenn of imprisonment "after considering the factors set forth in [18

U.S.C.   Ii 3582(a)] to the extent that they are applicable, if such a reduction is consistent with
applicable policy statements issued by the Sentencing Commission."          18 U.S.C.   Ii 3582(c)(2).
Amendment 782 of the United States Sentencing Guidelines, which became effective November

1, 2014, reduced the base offense levels in the Advisory Guidelines under S 2D 1.1 for cocaine



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base offenses by 2 levels.     The Sentencing Commission provided that Amendment 782 would

apply retroactively.   U.S.S.G. gS IBI.IO(d), (e)(I).

        Yet, a criminal defendant convicted of a cocaine-related offense is not always eligible for

retroactive reduction of his sentence under 18 U.S.C. g 3582(c) and U.S.S.G. Amendment 782.

In Freeman v. United States, 564 U.S. 522 (2011), the Supreme Court addressed whether a

defendant convicted of cocaine-related       offense and sentenced pursuant to a Federal Rule of

Criminal Procedure II (e)(I)(C) plea agreement) is eligible for S 3582(c) relief. According to

Justice Sotomayor's     concurring opinion in Freeman - the Supreme Court's holding in the

fragmented, plurality decision, see United States v. Brown, 653 F.3d 337, 340 (4th Cir. 2011)-

when a defendant pleads guilty pursuant to a Rule 11(c)( I)(C) plea agreement, his or her

eligibility for S 3582( c) relief is contingent upon the role of the defendant's advisory Guidelines

range in the agreement. Freeman, 564 U.S. 537-41 (Sotomayor, J., concurring).                  As Justice

Sotomayor reasoned, a sentenced imposed pursuant to a Rule II (c)(I )(C) plea is based on the

agreement itself, not the sentencing judge's independent calculation of the Sentencing Guidelines

range. ld. at 535-36. For that reason, the stipulated sentence in a Rule II(c)(I)(C)           agreement

would not ordinarily be eligible for reduction pursuant to 18 U.S.C. S 3582(c). See id. at 534-38;


) Federal Rule of Criminal Procedure II (c)( 1)(C) provides:
         c) Plea Agreement Procedure.
                 (I) In General. An attorney for the government and the defendant's attorney, or the
                 defendant when proceeding pro se, may discuss and reach a plea agreement. The court
                 must not participate in these discussions. If the defendant pleads guilty or nolo
                 contendere to either a charged olfense or a lesser or related offense, the plea agreement
                 may specify that an attorney for the government will:
                 [ ... ]
                         (C) agree that a specific sentence or sentencing range is the appropriate
                         disposition of the case, or that a particular provision of the Sentencing
                         Guidelines, or policy statement, or sentencing factor does or does not apply (such
                         a recommendation or request binds the court once the court accepts the plea
                         agreement).
(emphasis added). A court is bound to impose the sentence agreed to by the parties if it accepts an
agreement made under this Rule.

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see also Brown, 653 F.3d at 339 ("Justice Sotomayor agreed with the dissent that a sentenced

imposed pursuant to a Rule II (c)( I)(C) plea is based on the agreement and, therefore,    S 3582( c)
relief is usually not available.").

        However, a defendant sentenced under a Rule I I (c)(I)(C) agreement is not categorically

barred from     S 3582(c) relief      Rather, as Justice Sotomayor     explained, that defendant can

demonstrate that his or her sentence was "based on" a Guidelines range - and thus that he or she

is eligible for S 3582(c) relief - if either of the follo\\~ng exceptions applies: (I) the plea

agreement "call[s] for the defendant to be sentenced within a particular Guidelines sentencing

range," or (2) the plea agreement "provide[ s] for a specific term of imprisonment ...       but also

maker s] clear that the basis for the specified term is a Guidelines sentence range applicable to the

offense" of conviction, provided that "the sentencing range is evident from the agreement itself."

Freeman, 564 U.S. at 538-39 (Sotomayor, J., concurring); see also United Slales v. Frazier, 531

Fed. App'x 308, 309-10 (4th Cir. 2013) (delineating the two exceptions to Sotomayor's general

rule that an I I (c)(I)(C) plea is not eligible for S 3582(c)(2) reduction).

        Any inquiry into whether one of these two exceptions applies must look to the language

of the plea agreement itself. Accordingly, the analysis should not be based on the sentencing

judge's decision about whether to adopt the agreement in reference to the Guidelines range. See

Freeman, 564 U.S. at 536. (Sotomayor, J., concurring) (noting that the "term of imprisonment

imposed by the sentencing judge [in a Rule II(c)(I)(C)          plea] is dictated by the terms of the

agreement entered into by the parties, not the judge's Guideline calculation"); see also Brown,

653 F.3d at 340 ("The fact that the district court consulted the Guidelines in establishing [the

defendant's]   sentence is irrelevant."). Nor should it be based on the "background negotiations"

that mayor     may not have used a defendant's          advisory Guidelines as a point of reference.



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Freeman, 564 U.S. at 537-38 (Sotomayor, J., concurring) ("[T]he mere fact that the parties to a

[Rule 11(c)(l)(C)J   agreement     may have considered       the Guidelines   in the course of their

negotiations does not empower the court under ~ 3582( c)(2) to reduce the term of imprisonment

they ultimately agreed upon.").

                                                  III.

        Banks asserts that he is eligible for S 3582(c) relief because the "'drugs minus two'

provision of the [U.S.S.G.J ...        was recently      made retroactive and now applies to [hisJ

sentence." Def.'s Mot. Reduce Sentence, ECF No. 473. The Government, however, argues that

Banks is not eligible for any sentence reduction. According to the Government, Banks' Rule

II (c)( I )(C) Plea Agreement stipulated a specific term of confinement of 96 months which was

not based on a specified drug quantity range. Gov't Resp. Opp'n 2-3, ECF No. 513.

       The Court agrees with the Government.

       Under Freeman, as explained above, a defendant who pleads guilty under a Rule

II (c) (I )(C) plea agreement, like Banks, is not ordinarily eligible for ~ 3582(c) relief unless the

stipulated sentence falls within one of two narrowly defined exceptions: (I) the plea agreement

itself calls for the defendant to be sentenced within a particular Guidelines range, or (2) the plea

agreement makes clear that the basis for the specified term is a Guidelines range. See Freeman,

564 U.S. at 538-39 (Sotomayor, J., concurring).          Scrutinizing   the language of Banks' Rule

I I(c)(l)(C) Plea Agreement, the Court concludes that neither of the two exceptions applies here.

       First, Banks' Plea Agreement clearly does not call for Banks to be sentenced within a

particular Guidelines range. See id. Rather, the parties "stipulate and agree pursuant to Federal

Rule of Criminal Procedure        II(c)(l)(C)   that a sentence of 96 months is the appropriate

disposition of this case." Plea Agreement ~ 10.



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        Second, Banks' Pica Agreement docs not "make clear that the basis for the specified

term is a Guidelines sentence range applicable to the offense of conviction." See 564 U.S. at 539

(Sotomayor, J., concurring) (emphasis added). In Freeman, Justice Sotomayor held that the

defendant's plea agreement fell under this exception because the Agreement itself stated that the

defendant "agrees to have his sentence detemlined pursuant to the Sentencing Guidelines," and

then provided for a sentence teml that was clearly based on the low-end of that range. ld. 542-43.

Here, although the Plea Agreement does include an "Advisory Guidelines" section, in which

Banks' Offense Level is noted, the Agreement itself does not include the actual corresponding

range. See Plea Agreement ~~ 6-7. As a result, it is far from evident that the parties were using

that range as a basis for the stipulated sentence.

        Moreover, even if the range itself were included in the Agreement, the actual sentence the

parties agreed upon - 96 months - is clearly outside that range. See Plea Agreement ~ ID. Given

Banks' criminal history category of IV and offense level of 28, Banks' Guidelines range of

imprisonment would have been I ID to 137 months, as the Court determined at the sentencing

hearing. ECF No. 382. Comparing            this range to the stipulated       sentence in Banks'      Rule

II(c)(I)(C)   Plea Agreement, it is certainly not "clear that the basis" for the 96-month term was

the liD to 137-month Guidelines range applicable to Banks' offense to which he pleaded guilty.2

See Freeman, 564 U.S. at 539 (Sotomayor, J., concurring); see also Frazier, 531 Fed. App'x at

310 (holding that an II (c)(I )(C) plea agreement was not eligible for reduction when the



2 In a footnote in Freeman, Justice Sotomayor addresses a hypothetical situation in which a Rule
II (c)( I)(C) plea agreement calls for a defendant to be sentenced below the advisory Guidelines range for
that defendant. Id. at 543 n.9. This type of plea agreement might still be eligible for reduction under ~
3582(c) if the agreement itself made clear that the final imprisonment figure was arrived at by subtracting
a set percentage of months - e.g., 50 percent - off the low end of the applicable sentencing range. Id.
Banks' Plea Agreement is not akin to this hypothetical scenario, however: it is certainly not clear that the
sentence the parties negotiated, 96 months, was arrived at by taking a certain percentage off the low end
of Banks' Guideline range, 110 months.

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         agreement did "not make clear that the specified term is a Guideline sentencing range applicable

         to the sentence of conviction").

                As neither Freeman exception applies, the Court concludes an advisory Guidelines range

         for a cocaine offense did not form the basis for the stipulated sentence in Banks' Rule

         I I(c)(I)(C) Plea Agreement. For this reason, Banks is not eligible for 18 U.S.C. S 3582(c) relief

         and his Motion to Reduce Sentence (ECF No. 473) is DENIED.

                A separate Order will ISSUE.




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                January ~      ,2017   .




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